Case 4:22-cr-00253-P Document1 Filed 08/10/22 Page1lof3 PagelID1

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* IN THE UNITED STATES DISTRICT COURT PD
FOR THE NORTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA CLERK U.S. DISTRICT COURT

 

By:
Vv, No. 4:22-MJ- 637 Deputy

LAUREN WHITNEY MOORE (01)

CRIMINAL COMPLAINT

 

I, the undersigned complainant being duly sworn state the following is true and

correct to the best of my knowledge and belief:
Possession of a Controlled Substance with Intent to Distribute

On or about March 30, 2022, in the Fort Worth Division of the Northern District
of Texas, defendant Lauren Whitney MOORE, did knowingly and intentionally possess
with intent to distribute a mixture and substance containing a detectable amount of
methamphetamine, a schedule H-controlled substance,

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

I, Special Agent Brian Finney, affiant, under oath, duly state that I am a Special
Agent with the Drug Enforcement Administration (DEA), assigned to the Fort Worth
District Office in the Dallas Field Division. The statements set forth in this affidavit are
true and correct to the best of my knowledge and belief, but are not inclusive of all the
evidence or information in the case.
1. On March 30, 2022, Hood County Sheriff's Office Street Crimes Unit and
Deputies with the United States Marshals Service were attempting to locate and arrest

Lauren Whitney MOORE on an outstanding Federal arrest warrant for a violation of

her conditions of supervised release from a previous Federal drug conviction.

Criminal Complaint - Page 1 of 3
Case 4:22-cr-00253-P Document1 Filed 08/10/22 Page 2of3 PagelD 2

While attempting to locate Lauren Whitney MOORE, Deputies with the Hood County
Sheriff's Office observed Lauren Whitney MOORE driving a black motorcycle fail to
signal a turn; Deputies also saw that the black motorcycle did not have a license plate.
Deputies attempted to stop Lauren Whitney MOORE by activating their emergency
lights and siren; however, Lauren Whitney MOORE failed to stop and attempted to fice
on the black motorcycle. While fleemg, Deputies witnessed Lauren Whitney MOORE
reach into her sweater and throw a clear plastic baggie, which contained an off-white
substance, Deputies also saw Lauren Whitney MOORE reach into her sweater multiple
times and into her mouth/face area; it appeared to Deputies that Lauren Whitney
MOORE was trying to get rid of whatever she was reaching for and biting into it, After
several turns, Lauren Whitney MOORE stopped the black motorcycle and was taken
into custody. As Deputies arrested Lauren Whitney MOORE, Deputies observed a
large amount of crystal-like substance fall to the ground. After placing Lauren Whitney
MOORE in handcuffs, Deputies observed crystal-like substance all over her face,
sweater, and her groin area. After having Lauren Whitney MOORE in custody,
Deputies attempted to collect the crystal-like substance from the ground. After being
advised on her Miranda Warnings, Lauren Whitney MOORE admitted that she knew
that she had an outstanding Federal Arrest Warrant. Lauren Whitney MOORE then
admitted that when Deputies initiated the traffic stop, she (Lauren Whitney MOORE)
had approximately one (1) ounce of methamphetamine in a sandwich bag, in her
possession. Deputies successfully recovered approximately 25.7 gross grams of crystal-

like substance from the ground.

Criminal Complaint - Page 2 of 3
Case 4:22-cr-00253-P Document1 Filed 08/10/22 Page 3of3 PagelD 3

2. After the Deputies submitted the 25.7 gross grams of crystal-like substance to the
laboratory, it was confirmed to contain 13.6 grams of methamphetamine.

3. Based upon the above facts and circumstances, there is probable cause to believe
that Lauren Whitney MOORE did knowingly and intentionally possess with intent to
distribute a mixture and substance containing a detectable amount of methamphetamine,

in violation of 21 U.S.C. §§ 841(a)(1).

 

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Brian Finney
Special Agent
Drug Enforcement Administration

SWORN AND SUBSCRIBED before me on this Lor day of August 2022, at }: 3%
ampilp i in Fort Worth, Texas. ay

 

Criminal Complaint - Page 3 of 3
